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 1                                                                 The Honorable Robert J. Bryan
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 7
 8                                 UNITED STATES DISTRICT COURT
9                                 WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
10
11   CHAO CHEN, individually and on behalf
12                                                   Case No. 3:17-cv-05769
     of all those similarly situated.
13                                      Plaintiff,     DECLARATION DAVID VENTURELLA
                                                       IN SUPPORT OF GEO'S MOTION TO
14                           v.
                                                       FILE LIMITED REDACTED PAGES IN
15                                                   I CAMERA AND UNDER SEAL
16   THE GEO GROUP, INC.,
17                                      Defendant.

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28   CHAO CHEN V. GEO GROL"P                                                  III BRANCHES LAW, PLLC
     ECF CASE NO. 3-l 7-cv-05769-RJB                                                   JoanK. Mell
     DECLARATION OF DAVID VENTURELLA                                           1019 Regents Blvd. Ste. 204
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 l          I, David Venturella, pursuant to 28 U.S.C. § 1746, declare, under penalty of perjury, as
     follows:
 2
 3   1.   I am the Senior Vice President, Business Development of The GEO Group, Inc. ("GEO").

 4        My duties include responsibility for leading GEO's business development and proposal
 5
          efforts in response to Requests for Proposal ("RFP") for GEO ' s Contract Detention
 6
          Facilities ("CDFs"), which includes RFPs from Immigration Customs Enforcement
 7
 8        ("ICE"), Federal Bureau of Prisons ("BOP"), U.S. Marshals Service ("USMS") and several

 9        state correctional clients and various county and city jurisdictions. This declaration is based
10        on my personal knowledge in my capacity as the person responsible for proposals at GEO
11
          and as described herein.
12
     2.   I have been at GEO since 2012 and previously was employed at ICE for 22 years, where I
13
14        held various positions, including ones in Secure Communities and Enforcement and

15        Removal Operations, among other departments.
16
     3.   Since the 1980s, ICE has adopted the detention standards of the American Correctional
17
          Association ("ACA"). This necessitated the construction of new facilities that met those
18
19        standards and were located in areas of the country that were important to ICE enforcement

20        and detention planning. With the new ICE/ACA detention standards in place, ICE began
21
          issuing new RFPs which applied the new standards and resulted in capital-intensive
22
          investments by the proposer entities.
23
24   4.   Today, there are over 200 public and private detention facilities that provide contract

25        detention services for approximately 39,000 ICE detainees.
26
27
28   CHAO CHEN V. GEO GROUP                                                       III BRANCHES LAW, PLLC
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 1   5.   GEO currently operates 13 detention facilities of different types for ICE.      GEO provides

2         detention services for ICE as prime contractor at several CDFs, which are operated directly
3
          for ICE, including the Northwest Detention Center.
4
     6.   Historically, there has always been active competition between detention service providers
5
6         for CDF contracts. This competition between providers dates back to the first such CDF

7         RFP in 1983/1984 for a 300 bed secure residential care facility in the Houston, Texas area
 8
          which cost several millions of dollars. ICE currently has CDFs with GEO and CoreCivic
9
          (formerly known as Corrections Corporation of America).            Each of these facilities is
10
11        operated under a contract that contains an established end or termination date. Assuming it

12        still has the need, ICE will re-compete (i.e., re-bid) the facility when each contract ends.
13
     7.   In recent years, ICE changed its procurement approach for re-competing the facilities when
14
          the incumbent's contract ends. In order to increase competition, ICE has moved forward
15
16        the procurement process for the replacement contract well in advance of the termination of

17        the incumbent's contract to allow offerors, other than the incumbent, to compete for new or
18
          re-competed CDF contracts, including proposing a new facility. An offeror wishing to
19
          compete against the incumbent can propose new construction or an existing facility as the
20
21        CDF facility and will have sufficient time to make appropriate arrangements and be

22        prepared to perform under a new or re-competed contract if successful. This change in

23        ICE's procurement approach to competition for CDF detention service contracts thus
24
          appears to have already stimulated greater competition. ICE has re-competed the NWDC
25
          contract in the past.
26
27
28   CHAO CHEN V. GEO GROUP                                                        III BRANCHES LAW, PLLC
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 1   8.   In addition to GEO and CoreCivic there are six other active private competitors in the ICE
 2
          and Bureau of Prisons contract detention facility market, namely:         Management and
 3
          Training Corporation, Community Education Centers, Emerald Correctional Management,
 4
 5        LaSalle, and MVM Inc. While GEO and CCA currently have a strong position in the ICE

 6        CDF market, both companies compete with these smaller companies on a regular basis for
 7        contracts, including with other agencies.     ICE, BOP and USMS do not identify the
 8
          competing companies related to any particular solicitation. Only the successful bidder is
 9
          identified.
10
11   9.   Solicitations by ICE and other agencies for contract detention services typically require

12        bidders to submit a comprehensive Technical Response (to include Operational Procedures
13
          and Policies, detailed Staffing Plans, Facility Design Plans and Physical Plant
14
          Descriptions), detailed Pricing/Cost information, and Past Performance information. When
15
16        all other factors are more or less equal, the govenunent will base the award on the overall

17        cost.    The winning proposal in almost every federal procurement competition in the
18        detention or prison contracting area is awarded to the lowest bidder, unless that bidder has
19
          an unsatisfactory performance record.
20
21   10. Each company that responds to these solicitations has its proprietary approach to staffing

22        and pricing based upon its analysis of the RFP Work Statement requirements published by
23        ICE or another soliciting agency, along with company philosophy and operational policies.
24
          GEO and other companies endeavor to keep this proprietary information confidential as
25
          protected trade secrets.
26
27
28   CHAO CHEN V. GEO GROUP                                                     ill BRANCHES LAW, PLLC
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       11. lf a contractor Is   uccessfo l in tibfaining a contract1 the unft pncing contained in the
 2         contractor' s proposal or bid are typically incorporated into the final contract, unless they
 3
           are revised as a result of subsequent negotiations with ICE. Over the duration of the
 4
           contract, there are often minor modifications that may adjust the bed-day rate and overall
 5
 6         contract pricing.

 7     12. I am familiar with the contract between ICE and GEO, for the operation of the NWDC.
 8
           The contract is a typical CDF detention service contract providing a I-year base term plus
 9
           1-year options (nine in total), effective on September 28, 2015, with options running into
10
11         2025.

12     13. I have reviewed the redacted copy of the contract submitted to the Court. There are two
1.3
           types of information redacted from the copy of the contract that was submitted in these
14
           court proceedings: (1) bank routing information; and (2) confidential and competition-
LS
16         sensitive unit pricing information. The redacted pricing information typically consists of

17         units (figured in various measures, such as beds, hours, or months), and prices-per-unit.
18    14. This redacted pricing or payment information is regarded as confidential trade secret
19
           material by GEO. ICE, the Department of Homeland Security, and federal agencies that
20
           enter into detention contracts typically redact this pricing or payment information when
21
22         they provides copies of contracts pursuant to requests under the Freedom of Information
23         Act or when copies of contracts are posted on publicly available websites.
24
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_)
       15. ICE redacts this information because FOIA' s exemptions were designed to protect

           confidential and trade secret information provided by contractors to the government, and
26
27         because the federal agencies are aware that if such pricing information were made

28    C H•.\0 Cl II· V GEO GROUP                                                  III BRANCHES LAW , PLLC
      ECF CA ENO 3-17-cv--05769-RJB                                                        Joan K . Mell
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 1        available, it would harm the competitors for its contracts.     Those competing service
 2        providers develop their proprietary staffing and pricing models in a manner to gain an
 3
          advantage in the marketplace. Knowing pricing and payment information that competitors
 4
          do not know provides a competitive advantage that is lost when the pricing and payment
 5
 6        terms are disclosed.     Furthermore, disclosing such trade secrets would undermine a

 7        primary purpose of the federal contract bidding structure: to push companies to innovate
 8
          and provide the best product and the best price.
 9
      16. If the Court orders the publication of the redacted material containing GEO's pricing
10
11        information as the State requests, other CDF operators such as CCA would have access to

12        this proprietary infonnation and cause GEO to lose its competitive advantage that is gained
13
          from its knowledge of that pricing and payments. If a competitor obtained GEO ' s unit
14
          pricing, it could quickly discern much about the GEO pricing models that resulted in a
15
16        successful contract bid. Knowing this information could enable a competitor to develop a

17        cost model that provides similar or identical items, but undercut the pricing of particular
18
          items in subsequent bids. Without access to similar confidential information from other
19
          CDF operators, GEO would be placed at a competitive disadvantage, and cause financial
20
21        harm by causing GEO to lose current contracts when they are re-bid, or to lose bids on new

22        contracts.
23
     Dated: December 1, 2017
24          Boca Raton, Florida

25
26                                                David J. Ve

27
28   CHAO CHEN V. GEO GROUP                                                    III BRANCHES LAW, PLLC
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 1                                      CERTIFICATE OF SERVICE
 2         I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action. On
 4
     December 1, 2017, I electronically filed the above Declaration of David Venturella In Support of
 5
     GEO's Motion to File Limited Redacted Pages In Camera and Under Seal, with the Clerk of the
 6
     Court using the CM/ECF system and served via Email to the following:
 7
     Schroeter, Goldmark & Bender                   The Law Office of R. Andrew Free
 8   Adam J. Berger, WSBA No. 20714                 Andrew Free
 9   Lindsay L. Halm, wSBA No. 37141                P.O. Box 90568
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21   (202)-662-0210
     mark.emery@nortonrosefulbright.com
22
23
           I certify under penalty of perjury under the laws of the State of Washington that the above
24
25   information is true and correct.

26         DATED this 1st day of December, 2017 at Fircrest, Washington.
27
28
            Joseph Fonseca, Paralegal
29
30    CHAO CHEN V. GEO GROUP
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